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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:15CR343

      vs.
                                                                  ORDER
DIONTE DORTCH, JERELL HAYNIE,
GREGORY BAHATI,

                     Defendants.


       This matter is before the Court on the government’s motion to extend the

deadline to file reply briefs to the defendants’ various objections to Magistrate Judge

Goessett’s findings and recommendations, Filing No. 410. The government states that

the objections raise numerous complex issues; the assigned attorney has devoted time

to other matters including a brief for another case on appeal; a possibility exists that one

of the remaining defendants may soon plead which would obviate the need to reply.

The Court has reviewed the record and the motion will be granted.

       IT IS ORDERED that the government’s motion to extend, Filing No. 410, is

granted. The government shall file its brief on or before March 13, 2017 regarding Filing

Numbers 375, 376, 377, 385, 390-395.          The time between February 21, 2017 and

March 13, 2017 shall be excluded for the purposes of the speedy trial act.

       Dated this 28th day of February, 2017.


                                                 BY THE COURT:

                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge
